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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                         ALBANY DIVISION

MARJORIE CORNWELL MCREE, )
et al.,                        )
                               )    CIVIL ACTION NO.:
             Plaintiffs,       )    1:19-CV-0118-LAG
                               )
v.                             )
                               )
LEATHERBROOK HOLSTEINS, )
LLC, et al.,                   )
                               )
             Defendants.       )
__________________________________________________________________

            JOINT MOTION TO APPROVE CONSENT DECREE

      COME NOW all Parties to this action and hereby jointly move the Court to

approve and enter the attached Proposed Consent Decree, see Exhibit A, after the

statutorily required 45-day review period by the relevant federal agencies.

      As required by 40 C.F.R. § 135.5(b)(1), Plaintiffs hereby notify the Court that

under Section 1365(c)(3) of the Federal Water Pollution Control Act (“Clean Water

Act” or “CWA”) that the Court should not enter the Proposed Consent Decree “prior

to 45 days following the receipt of a copy of the proposed consent judgment by the

Attorney General and the Administrator [of the U.S. Environmental Protection

Agency].” 33 U.S.C. § 1365(c).


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      In a later filing, Plaintiffs shall promptly “notify the Court . . . regarding the

dates of service of the proposed consent judgment upon the Administrator and

Attorney General,” as required by 40 C.F.R. § 135.5(b)(2), so that the Court may

then enter the Proposed Consent Decree.

      Respectfully submitted, this 15th day of March, 2023.

/s/ Donald D.J. Stack                      /s/ R. Hutton Brown
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, that on March 15, 2023, I electronically filed the

foregoing JOINT MOTION TO APPROVE CONSENT DECREE using the

Court’s CM/ECF system, which will serve notice of filing to all registered users.


                                      /s/ R. Hutton Brown
                                      R. Hutton Brown
                                      Georgia Bar No. 089280
                                      SOUTHERN ENVIRONMENTAL LAW CENTER




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